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    EXHIBIT R
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                                                                          U.S. Department of State
                                                                                                                                            0MB CONTROL NO. 1405-0160

                                   APPLICATION FOR A U.S. PASSPORT FOR ELIGIBLE INDIVIDUALS                                                 EXPIRATION DATE: 11-30-2022
                                                                                                                                            ESTIMATED BURDEN: 40 MIN

           CORRECTION, NAME CHANGE TO PASSPORT ISSUED 1 YEAR AGO OR LESS, AND LIMITED PASSPORT REPLACEMENT
                             For information or questions, visit the official Department of State website at travel.state.gov or contact the National
                               Passport Information Center (NPIC) at 1-877-487-2778 (TDD/TTY: 1-888-874-7793) or NPIC@state.gov.



                                                      CAN I USE THIS FORM?
                                           I changed my name, by marriage or court order, less than one year after my most recent U.S. passport book and/or card
   Oves                                    was issued and my U.S. passport book and/or card was issued less than one year ago.


                                           OR


   Oves                                    My identifying information in my most recent U.S. passport book and/or card was printed incorrectly.


                                           OR

   Oves                                    My most recent U.S. passport book was limited to two years or less for a reason other than multiple losses or a seriously
                                           damaged/mutilated passport.

            If you answered no to all of the three statements above, STOP. You cannot use this form.
                         Instead, you must apply on form DS-82 or DS-11 depending on your circumstances.
                                        Passport forms are available at travel.state.gov/passportforms.

                                                NOTICE TO APPLICANTS RESIDING ABROAD
  United States citizens residing outside the U.S. and Canada cannot submit this form to domestic addresses listed below. Such applicants should visit
  usembassy.gov to find the nearest U.S. embassy or consulate for procedures when applying outside the United States.

                                                     IS THERE A FEE WITH THIS APPLICATION?
 There is no fee to use this form unless expedited service is requested (see below).Your re-issued passport book and/or card and any documentary evidence
 submitted to the Department will be returned to you by priority or first class mail, unless overnight delivery is requested. Photocopies will not be returned.

 Enclose expedited service fee(s) in the form of a personal check or money order. MAKE CHECKS PAYABLE TO "U.S. DEPARTMENT OF STATE." The full
 name and date of birth of the applicant must be typed or printed on the front of the check. For information on fees, please visit
 travel.state.gov/passportfees.

 Do not send cash. The Department cannot be responsible for cash sent through the mail.


                                                    WHERE DO I MAIL THIS APPLICATION?
                               The Department recommends using trackable mailing service when submitting your application.

  1. Complete, sign, and date this form.

  2. Send this form with your most recent U.S. passport book and/or card, a new color photograph (taken within the last six months), and any required additional
     documents.
                  FOR ROUTINE SERVICE (No fee required):                           FOR EXPEDITED SERVICE (Fee required, see below):
                  National Passport Processing Center                              National Passport Processing Center
                  Post Office Box 90107                                            Post Office Box 90907
                  Philadelphia, PA 19190-0107                                      Philadelphia, PA 19190-0907

Expedited service: Available for a fee. Our website travel.state.gov contains updated information regarding fees and processing times for expedited service.
Expedited service is only available for passports mailed in the United States and Canada. Please write "Expedite" on the outer envelope when mailing.

1-2 Day Delivery: Available for a fee. This service is only available for passport books (and not passport cards) mailed within the United States.

NOTE: To ensure minimal processing time for expedited applications, the Department recommends using 1-2 day delivery service to submit the application and to
include the appropriate postage fee for 1-2 day return delivery for the newly issued passport book. Please visit travel.state.gov for updated information
regarding fees, processing times, or to check the status of your passport application online.

If you choose to provide your email address in item #6 on page 1 of 2, the Department may use that information to contact you in the event there is a problem
with your application or if additional information is required.

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                                                                               EXPIRATION DATE: 11-30-2022
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FROM 1” TO

              1 3/8”
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